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                            Nos. 23-2397, 23-2398


                   United States Court of Appeals
                    for the Federal Circuit
          STRYKER EUROPEAN OPERATIONS HOLDINGS LLC,
                          Appellant

                                       v.

                              OSTEOMED LLC,
                                 Appellee

  Appeals from the United States Patent and Trademark Office, Patent Trial and
             Appeal Board in Nos. IPR2022-00487, IPR2022-00488

                 APPELLEE’S CORRECTED RESPONSE BRIEF


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April 29, 2024
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               CHALLENGED CLAIMS OF ʼ713 PATENT

[32pre]    A method of fusing a joint, the method comprising:

[32a]      spanning first and second bones separated by a joint with a bone plate,
           such that a first hole of the bone plate is aligned with a first bone of
           the joint and a second hole of the bone plate is aligned with a second
           bone of the joint;

[32b]      inserting a first fixation member through the first hole of the plate and
           into the first bone of the joint;

[32c]      inserting a second fixation member through the second hole of the
           plate and into the second bone of the joint; and

[32d]      inserting a third fixation member through a third hole in the plate, into
           the first bone, across the joint, and into the second bone so that a free
           end of the third fixation member, not attached to any portion of the
           plate, resides in the second bone and

[32e]      a head of the third fixation member is seated in the third hole,

[32f]      the third hole being angled relative to a longitudinal axis of the plate
           through a thickness of the plate,

[32g]      wherein the third fixation member is the only fixation member
           extending across the joint.



[33]       The method of claim 32, wherein the third hole is angled by about
           between 30° and 60° with respect to the longitudinal axis of the plate.



[34]       The method of claim 32, wherein the first and second holes are locking
           holes.



[35]       The method of claim 34, wherein the first and second holes are
           threaded.
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[36a]    The method of claim 32, wherein the plate includes a plurality of holes
         arranged according to the corners of a triangle or of a quadrilateral,
         and

[36b]    the method further comprises inserting fixation members into each of
         the plurality of holes so that some of the fixation members extend into
         first bone while some of the fixation members extend into the second
         bone.



[37a]    The method of claim 36, wherein the plate is curved so as to adapt to
         the curvature of at least one of the first and second bones, and

[37b]    the method further comprises inserting a plurality of fixation members
         into the plurality of holes so that at least one of the plurality of fixation
         members is angled with respect to another of the plurality of fixation
         members.



[38]     The method of claim 37, further comprising the step of inserting a
         temporary fixation pin into a hole in the plate to temporarily affix the
         plate to bone.



[39]     The method of claim 32, wherein the joint is one of the anatomical
         joints of the human body in the foot or hand.
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              CHALLENGED CLAIMS OF ʼ751 PATENT

          A system for fusing a first discrete bone and a second discrete bone
[1pre]
          separated by a joint, said system comprising:

          a bone plate having a length sufficient to span the joint, said bone plate
[1a]      having a first end and a second end along said length, said length
          defining a longitudinal axis, said bone plate defining:

          a first hole at or adjacent the first end, said first hole configured to
[1b]
          align with the first discrete bone on a first side of the joint;

          a second hole at or adjacent the second end, said second hole
[1c]      configured to align with the second discrete bone on a second side of
          the joint; and

          a third hole located between said first hole and said second hole,
[1d]      wherein said third hole is angled relative to the longitudinal axis of
          said bone plate;

          a first fixation member configured to be inserted through the first hole
[1e]
          of the bone plate and into the first discrete bone of the joint;

          a second fixation member configured to inserted through said second
[1f]      hole of said bone plate and into the second discrete bone of said joint;
          and

          a third fixation member configured to be inserted through said third
          hole of said bone plate, into the first discrete bone, across said joint,
[1g]      and into the second discrete bone such that a free end of said third
          fixation member, not attached to any portion of the bone plate, resides
          in the second discrete bone,

          wherein said third fixation member is the only fixation member
[1h]      extending across said joint from the first side of the joint to the second
          side of the joint.



          The system of claim 1 wherein said bone plate is contoured to
[2]
          anatomically fit bones in a human foot.
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[3]        The system of claim 1 wherein said joint is a metatarsophalangeal
           joint.



[6]        The system of claim 1 wherein said joint is a tarsometatarsal joint.



           The system of claim 1 wherein said third fixation member is
[7]        configured to develop compression across said joint with lag effect
           when said third fixation member is tightened.



           The system of claim 1 wherein the free end of said third fixation
[8]        member and a free end of said second fixation member are configured
           to reside adjacent each other within said second discrete bone.



           The system of claim 1 wherein said bone plate includes at least one
[9]        pin hole adjacent said first hole, said pin hole configured to receive a
           temporary fixation member.



           The system of claim 1 wherein said bone plate includes at least one
[10]       pin hole adjacent said second hole, said pin hole configured to receive
           a temporary fixation member.



           A system for fusing first and second bone parts, said system
[11pre]
           comprising:

           a bone plate having a length sufficient to span a fracture or joint of a
           patient such that said bone plate is positionable alongside first and
[11a]
           second bone parts straddling the fracture or joint, said bone plate
           having;

[11b]      a first hole configured to align with the first bone part,
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[11c]    a second hole configured to align with the second bone part,

         a third hole and a fourth located between the first hole and the second
         hole, said third and fourth hole having an axis that is configured to
[11d]    cross the fracture or joint during use, the third hole defining a first area
         and the fourth hole defining a second area, the second area being
         smaller than the first area, and

         a fifth hole located adjacent either the first hole or the second hole,
[11e]    said fifth hole being smaller in area than said first hole or said second
         hole;

         a first fixation member configured to be inserted through the first hole
[11f]
         of said bone plate and into the first bone part;

         a second fixation member configured to be inserted through the second
[11g]
         hole of said bone plate and into the second bone part;

         a third fixation member configured to be inserted through the third and
         fourth hole in the bone plate, into the first bone part, across the fracture
         or joint, and into the second bone part, wherein a free end of said third
         fixation member does not attach to any portion of the bone plate and
[11h]
         wherein the third fixation member is the only fixation member
         extending across the fracture or joint, the third fixation member having
         a fixation head defining a head area, the head area being greater than
         the second area and less than the first area; and

         a temporary fixation member configured to be inserted through the
[11i]
         fifth hole in the bone plate.



         The system of claim 11 wherein the bone plate is contoured to
[12]
         anatomically fit bones in a human foot.



         The system of claim 11 wherein the free end of the third fixation
[13]     member and a free end of the second fixation member are configured
         to reside adjacent each other within said second bone part.
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[14]       The system of claim 11 wherein the bone plate is substantially planar.



[15]       The system of claim 11 wherein the fifth hole is a pin hole.



           The system of claim 11 wherein the temporary fixation member is a
[16]
           guide pin.



[17pre]    An orthopedic implant comprising;

           a bone plate having a proximal surface and an opposite distal bone
           contacting surface, said bone plate having a length sufficient to span a
[17a]
           fracture or joint of a patient such that said bone plate is positionable
           alongside first and second bone parts straddling the fracture or joint,

           said bone plate having a first hole configured to align with the first
[17b]
           bone part, the first hole sized to accept a first bone screw,

           a second hole configured to align with the second bone part, the
[17c]
           second hole sized to accept a second bone screw,

           a third hole located between said first hole and said second hole, said
           third hole sized to accept a third bone screw having a screw head, said
           third hole being angled relative to said bone plate such that, during
[17d]      use, said third bone screw is positioned to extend through said third
           hole and cross the fracture or joint, said third hole being configured to
           allow the entire screw head to be seated below the proximal surface of
           said bone plate, and

           a pin hole located adjacent either said first hole or said second hole,
           said pin hole being smaller in area than said first hole or said second
[17e]      hole, said pin hole extending from said proximal surface of said bone
           plate to said distal surface, said pin hole being configured to accept a
           temporary fixation member.
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[18]    The orthopedic implant of claim 17 wherein the temporary fixation is
        a guide pin.
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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 23-2397, 23-2398
   Short Case Caption Stryker European Operations Holdings LLC v. OsteoMed LLC
   Filing Party/Entity OsteoMed LLC



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        04/25/2024
  Date: _________________                   Signature:    /s/ Devon C. Beane

                                            Name:         Devon C. Beane
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FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in            3. Parent Corporations
         Entities.                            Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of       Provide the full names of
 all entities represented by          all real parties in interest    all parent corporations for
 undersigned counsel in               for the entities. Do not list   the entities and all
 this case.                           the real parties if they are    publicly held companies
                                      the same as the entities.       that own 10% or more
                                                                      stock in the entities.

                                      ‫ ܆‬None/Not Applicable           ‫ ܆‬None/Not Applicable

OsteoMed LLC                          Acumed LLC                      Acumed LLC

                                  Colson Medical, LLC                 Colson Medical, LLC

                                  Marmon Holdings, Inc.               Berkshire Hathaway Inc.

                                  Berkshire Hathaway Inc.




                                  ‫܆‬      Additional pages attached
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FORM 9. Certificate of Interest                                                 Form 9 (p. 3)
                                                                                 March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable               ‫܆‬     Additional pages attached
Katherine Allor
(formerly of K&L Gates LLP)




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                        ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable               ‫܆‬     Additional pages attached
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                      STATEMENT OF RELATED CASES

      No other appeal in or from the same IPR proceedings has previously been

before this or any other appellate court.

      This consolidated appeal relates to U.S. Patent Nos. 9,078,713 (“the ʼ713

Patent”) and 10,993,751 (“the ʼ751 Patent”) (collectively, “Challenged Patents”).

Appellant asserted the Challenged Patents against Appellee as counterclaims in

OsteoMed LLC v. Stryker Corporation, Case No. 1:20-cv-06821 (N.D. Ill.). This

case remains stayed pending resolution of this appeal. There is also a set of

companion cases pending in this Court concerning Appellee’s patents captioned

Stryker Corporation v. OsteoMed LLC, Case Nos. 23-1925, 23-1926, 23-1928, 23-

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                               INTRODUCTION

       Appellant’s brief presents a myriad of disputes with the Board’s decisions

below, not only appealing nearly every issue decided, but also appealing issues

Appellant did not present below and issues that are not even appealable. And, to

succeed on appeal as to all of the Challenged Claims1 and remand this case back to

the Board, Appellant needs to win on nearly every issue presented.

       Appellant begins with an issue it freely admits it did not ask the Board to

determine, spending nearly 10% of its brief arguing its claims should be construed

to exclude the preferred embodiment of its Challenged Patents. ECF No. 22 at 22,

56. A litigant cannot hold back a construction dispute below in hopes of preserving

the claims’ validity while at the same time keeping them broad for infringement

purposes. But that is exactly what Appellant has done. Only when the Board

rejected the Challenged Claims does Appellant seek an extraordinarily narrow

construction from this Court (under de novo review) to revive its unpatentable

claims.

       Even if this Court wades into Appellant’s request on appeal to exclude the

preferred embodiment of the Challenged Patents, nothing in the intrinsic evidence

supports departing from this Court’s guidance that “a claim interpretation that



1
    The “Challenged Claims” are claims 32-39 of the ’713 Patent and claims 1-3 and
    6-18 of the ’751 Patent.

                                        1
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excludes a preferred embodiment from the scope of the claim is rarely, if ever,

correct.” On-Line Techs., Inc. v. Bodenseewerk Perkin-Elmer GmbH, 386 F.3d

1133, 1138 (Fed. Cir. 2004). Where, as here, “claims can reasonably to interpreted

to include a specific embodiment, it is incorrect to construe the claims to exclude

that embodiment, absent probative evidence on the contrary.” Oatey v. IPS Corp.,

514 F.3d 1271, 1277 (Fed. Cir. 2008). With the proper claim construction in hand,

this Court can easily dispose of a significant portion of this appeal as Appellant does

not dispute—nor can it—that E.P. Patent No. 1,897,509 to Arnould (“Arnould”)

teaches the limitations of the Challenged Claims to a POSITA.

      With respect to the ʼ751 Patent, Appellant argues for a construction of the

term “between” similarly untethered from the language of the claim or the

specification. Appellant’s proposal uses “a broad dictionary definition…whittled

down only if contradicted by the specification,” an approach this Court typically

rejects. Acumed LLC v. Stryker Corp., 483 F.3d 800, 809 n.2 (Fed. Cir. 2007); see

also Phillips v. AWH Corp., 415 F.3d 1303, 1320-21 (Fed. Cir. 2005) (en banc)

(citing Texas Digital Systems, Inc. v. Telegenix, 308 F.3d 1193, 1204 (Fed. Cir.

2002)). Moreover, Appellant’s narrow construction of “between” should be rejected

as it again excludes the preferred embodiment. Oatey, 514 F.3d at 1276-77; MBO

Lab’ys, Inc. v. Becton, Dickinson & Co., 474 F.3d 1323, 1333 (Fed. Cir. 2007).

Substantial evidence supports the Board’s determination that Arnould alone renders



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the Challenged Claims of the ’751 Patent obvious based on the plain meaning of

“between.”

      The remaining issues presented in Appellant’s brief provide no basis to

reverse the Board’s decisions, as detailed further below. The Board’s decisions

concluding the Challenged Claims are unpatentable as obvious in light of the prior

art of record are supported by substantial evidence and should be affirmed.

                         STATEMENT OF THE ISSUES

      1.     (Both Proceedings) Whether the Board properly interpreted the “third

hole being angled relative to a longitudinal axis of the plate through a thickness of

the plate” (’713 Patent, cl. 32); the “third hole is angled relative to the longitudinal

axis of said bone plate” (’751 Patent, cl. 1); and “said third hole being angled relative

to said bone plate…” (’751 Patent, cl. 17) (collectively, the “Third Hole

Limitations”) as encompassing the preferred embodiment in the Challenged Patents?

      2.     (Both Proceedings) Whether substantial evidence supports the Board’s

decision that Arnould alone or Arnould in view of Zahiri render obvious the Third

Hole Limitations?

      3.     (Both Proceedings) Whether substantial evidence supports the Board’s

decision that Arnould alone or Arnould in view of Zahiri render obvious the claims

of the Challenged Patents regarding temporary fixation?




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      4.     (Both Proceedings) Whether substantial evidence supports the Board’s

decision that a POSITA would be motivated to modify the disclosure of Arnould in

light of the teachings of Zahiri?

      5.     (’713 Patent Proceeding) Whether substantial evidence supports the

Board’s decision that a POSITA would be motivated to modify the disclosure of

Arnould or Arnould and Zahiri in light of the teachings of U.S. Pat. Pub. No.

2006/0241608 to Myerson et al. (“Myerson ’608”)?

      6.     (’751 Patent Proceeding) Whether the Board properly rejected

Appellant’s overly narrow view of “between” as used in the claims of the ’751 Patent

and interpreted the term consistently with the intrinsic and extrinsic evidence?

      7.     (’751 Patent Proceeding) Whether substantial evidence supports the

Board’s decision that a POSITA would be motivated to modify the disclosure of

Arnould or Arnould and Zahiri in light of the teachings of U.S. Pat. Pub. No.

2006/0241592 to Myerson (“Myerson ’592”)?

      8.     (’751 Patent Proceeding) Whether Appellant’s challenge that the

Petition failed to comply with 35 U.S.C. § 312(a)(3) is properly appealable?

                           STATEMENT OF THE CASE

 I.   TECHNOLOGICAL BACKGROUND

      A.     The Challenged Patents

      Bone plates for fracture fixation and joint stabilization have been used for over



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a century. Appx748, ¶¶34-35. Early bone plates suffered a variety of challenges,

including corrosion of the plate and over-rigidity that failed to permit sufficient bone

movement during healing. Id., ¶35. To solve these challenges, practitioners in the

late 1940s began applying compression across fracture fragments with the goal of

minimizing motion, thereby increasing stability as the fracture healed. Appx749-

750, ¶¶36-37. For example, a 1982 manual regarding orthopedic techniques for

smaller bones, such as those in the hand, depicts using a dorsal plate with a screw

that crosses a cut bone.




Id., ¶¶38-39.

      The Challenged Patents similarly describe and claim methods for fusing bone

fractures and joints using a screw that crosses a bone discontinuity. Appx753, ¶44

(citing Appx108, 1:20-22); Appx3673, ¶44 (citing Appx111, Abstract).               The




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specification of the Challenged Patents spans less than two columns. Appx108.2

Each figure shows a plate with an angled hole on a formation in the plate through

which a screw extends to cross a bone discontinuity.




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    The Challenged Patents share a common specification. The citations throughout
    this brief are to the ʼ713 Patent unless noted otherwise.

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Appx106, Fig. 2; Appx107, Fig. 3; see also Appx106-107, Appx108, 2:16-17, 2:28-

29. Specifically, as depicted in Figure 3, the illustrated bone plate spans from a first

bone to a second bone and incorporates a screw that extends through an angled

formation and passes across the joint from the first bone to the second bone.

Appx754 (citing Appx108, 2:8-17).

      B.     The Relevant Prior Art References

             1.     Arnould

      Arnould describes a plate for arthrodesis of the metatarsal-phalangeal

(“MTP”) joint in the foot. Appx1155, ¶1. The plate straddles the MTP joint and

locks the joint in place. Id., ¶¶1-2. Figure 1 shows the plate affixed to the joint.




Appx1167, Fig. 1.




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      Screws secure one end of the plate to the metatarsal bone and the other end of

the plate to the phalanx bone. An additional screw spans the MTP joint and joins

the bones. Id.; see also Appx1162-1163, ¶¶32-34. To ensure the joint is reduced,

the cross-joint screw extends “at an angle…chosen by the surgeon so that this screw,

during its screwing, successfully passes through the phalangeal epiphysis P1 and the

metatarsal epiphysis M1.” Id., ¶32. The trajectory of the screw forms a non-zero

angle δ, which is “inclined in relation to the longitudinal direction 11 of the plate

body 10….” Appx1161-1162, ¶27. Once fully inserted, the head of the cross-joint

screw seats in hole 25, which includes “a concave surface which is substantially

complementary to an associated surface delimited by this screw head.” Id. The

angle of hole 25 relative to the plate can be seen in Figure 2, reproduced below.




Appx1168, Fig. 2.



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      Arnould’s plate further includes two small holes circled in red in Figure 2

above, but does not describe their purpose. Appellee’s expert testified these holes

are “temporary guide holes that are used to temporarily secure the plate during the

implantation process.” Appx3756-3757, ¶251; see also Appx847, ¶240 (describing

these holes as compatible with “k-wires to temporarily hold the plate in place while

the screws are inserted”).

               2.   Zahiri

      Zahiri similarly describes a bone plate used to fuse a bone fracture with a

screw that crosses the fracture line at an angle in the range of 90° to 170°. Appx1180,

4:58-67, 3:59-67. This plate and screw configuration used to fuse a bone is depicted

in Figure 1.




Appx1174, Fig. 1. The Zahiri plate further comprises pins designed to temporarily

lock the plate to the bone before the plate is fully installed. Appx1180-1181, 3:11-


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18, 5:47-64. The temporary locking design for the pins allows a surgeon to place

the plate properly. Id.

             3.    Myerson ʼ608

      Like Arnould, Myerson ʼ608 discloses a bone plate for MTP fusion.

Appx1187, Abstract; Appx1190, ¶2; Appx1188, Fig. 1. The bone plate is contoured

to follow the anatomy of bones adjacent to the joint to be fixed. Appx1190, ¶10. In

Myerson ʼ608, at least some of the “screw holes are designed to receive locking

screws” by incorporating locking threads to engage with the locking screws.

Appx1191, ¶22.

             4.    Myerson ʼ592

      Myerson ʼ592 likewise discloses a bone plate configured for joint fusion in

the foot. Appx4018, Fig. 1; Appx4021, ¶¶5, 10. The plate is contoured to follow

the anatomy of the mid-foot bones and especially across the metatarsal joints.

Appx4022, ¶¶21-22. The location of the bone plate on the foot is depicted in Figure

1, reproduced below.




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Appx3681-3682, ¶68 (including Appx4018, Fig. 1 (annotated)).

II.    PROCEDURAL BACKGROUND

       Appellee filed two petitions against the Challenged Patents, which included

similar grounds all rooted in obviousness, with either WIPO Pat. Pub. No. WO

2007/131287A1 to Slater (“Slater”) or Arnould as the primary reference. The Board

issued detailed decisions in both proceedings addressing the parties’ arguments with

respect to the Arnould-based grounds, weighing the testimony presented from both

parties’ experts, and concluding the Challenged Claims were obvious.3




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    Because the Board did not reach any of the Slater-based grounds below, they are
    not addressed in this appeal. To the extent the Court reverses the Board’s
    decisions with respect to the Arnould-based grounds, remand for consideration
    of the Slater-based grounds is appropriate.

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      With respect to the limitations Appellant challenges on appeal of claims 32,

33, and 36-39 of the ’713 Patent; and claims 1-3 and 7-18 of the ’751 Patent,

Appellee argued below these limitations were present in the disclosure of Arnould

alone to a POSITA, and the Board agreed. Appx20 (’713 Patent, cl. 32); Appx26-

27 (’713 Patent, cl. 33); Appx33 (’713 Patent, cl. 36); Appx35 (’713 Patent, cl. 37);

Appx39 (’713 Patent, cl. 38); Appx40-41 (’713 Patent, cl. 39); Appx77 (’751 Patent,

cl. 1); Appx87, Appx91 (’751 Patent, cl. 11); Appx93, Appx95 (’751 Patent, cl. 17);

Appx95 (’751 Patent, cls. 2, 3, 7–10, 12–16, and 18); see also Appx468 (“Arnould’s

third hole identified in the Petition meets this requirement without turning to the

disclosure of Zahiri”); Appx470 (“Arnould itself discloses pin holes.”); Appx3505

(including both quotes in relation to the ʼ751 Patent).

      The Board additionally considered Appellee’s alternative ground of Arnould

and Zahiri, and again found each limitation met. Appx20-26; Appx26-27; Appx37-

41; Appx77-86; Appx87-92; Appx94-95. In reaching this conclusion, the Board

rejected Appellant’s contention that Zahiri was not analogous art because neither of

the Challenged Patents “‘define’ the term ‘bone plate’ nor otherwise suggest that the

patentee acted as its own lexicographer.” Appx10; Appx59. Further, contrary to

Appellant’s assertion, “nothing in the record suggests that the ordinary meaning of

‘bone plate’ requires the plate to be fixed between two bone parts.” Appx10;

Appx59. Even if Zahiri was not a “bone plate” as Appellant construed the term, the


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Board concluded Zahiri was still analogous art “because it is in the same field of

endeavor, i.e., orthopedic implants, as the ’713 Patent.” Appx10; see also Appx59

(same for ’751 Patent).

      After reaching the conclusion that Zahiri was analogous art, the Board found

ample motivation to combine the bone plates of Arnould and Zahiri. Appx20-22,

Appx26; Appx79-80, Appx85-86. These motivations include incorporating the

Zahiri plate, which “allows a sufficient amount of force to be applied between bone

parts while dissipating the force so that it does not damage the bone parts.” Appx21;

Appx80. In a similar vein, the Board found “that it would have been obvious to

incorporate Zahiri’s temporary fixation pins for use with Arnould’s plate especially

in light of Arnould’s depiction in Figure 2 of temporary guide holes that may be used

to temporarily secure the plate.” Appx90-91; Appx40 (“Given that Arnould’s plate

already has pin holes that Mr. Sherman testifies are intended for use with k-wires,

we agree with and credit Mr. Sherman’s testimony that a POSITA would have been

motivated to incorporate the temporary fixation pins expressly taught in Zahiri to

ensure correct placement of Arnould’s plate.”).

      After review of the record, the Board concluded Appellee “articulated

reasoning with rationale underpinning demonstrating that a POSITA would have

been motivated to make [the combination of Arnould and Zahiri] with a reasonable

expectation of success.” Appx22; Appx85-86. On these issues, the Board noted it



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found the testimony of “[Appellee’s expert] to be more credible [than] the competing

testimony Patent Owner cites from [Appellant’s experts].”        Appx41 (internal

citations omitted); Appx92 (same); see also Appx23; Appx82.

      Turning to the remaining two claims challenged in the ’713 Patent proceeding

(claims 34 and 35), which recite the use of locking screws and threaded holes, the

Board agreed that the additional teachings of Myerson ’608 rendered these claims

obvious in view of Arnould alone or Arnould and Zahiri. Appx44. Preliminarily,

as argued in the Petition, the Board agreed that Myerson ’608 describes a bone plate

for MTP fusion just like Arnould. Appx42. Moreover, the Board agreed with

Appellee that the use of locking screws with locking threaded holes was a known

technique to prevent screws from backing out. Id. Consistent with its overall views

regarding Appellee’s expert, the Board again found his testimony in this regard to

be “credible and persuasive.” Appx43.

      Finally, with respect to the last challenged claim of the ’751 Patent—claim 6,

which requires the claimed bone plate to be configured for use across the

tarsometatarsal (“TMT”) joint—the Board credited Appellee’s expert’s testimony

that the bone plate of Arnould that is depicted over the MTP joint could be easily

reconfigured for use over the TMT joint in light of the teachings of Myerson ’592.

Appx97.     While Appellant challenged each reference in the combination

independently, Appellant failed to address “‘what the combined teachings of the



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references would have suggested to a person of ordinary skill in the art.’” Appx98

(quoting In re Mouttet, 686 F.3d 1322, 1333 (Fed. Cir. 2012)). As a result, the Board

determined that Appellee’s challenge to claim 6 sufficiently demonstrated the claim

was obvious. Appx97-98.

                       SUMMARY OF THE ARGUMENT

      The Board correctly understood the Third Hole Limitations as encompassing

the preferred embodiment of the Challenged Patents (Section II.B) and Appellant’s

attempt to have this Court construe the term for the first time on appeal is improper.

(Section II.A).

      Without accepting Appellant’s new claim construction argument on appeal,

the Board correctly concluded the Third Hole Limitations are taught to a POSITA

in view of Arnould alone, which Appellant does not appear to dispute. (Section

III.A). Even under Appellant’s forfeited claim construction of the Third Hole

Limitations, Appellant does not dispute the combination of Arnould and Zahiri

teaches the claim. (Section III.B).

      Similarly, Appellant does not appear to dispute that Arnould alone teaches

temporary fixation as required in the Challenged Claims as the Board concluded.

The Board’s decision that Arnould alone or Arnould in view of Zahiri teaches the

temporary fixation limitations to a POSITA should be affirmed. (Section IV).

      The Board also properly concluded a POSITA would have been motivated to


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combine the teachings of Arnould and Zahiri and would have had a reasonable

expectation of success in the resulting combination. (Section V).

      The Board’s decision that the addition of the teachings of Myerson ’608 to

Arnould alone or Arnould in view of Zahiri teaches the threaded hole and locking

screw requirements of claims 34 and 35 of the ’713 Patent to a POSITA is fully

supported, particularly in light of Appellant’s failure to address the combination as

a whole and Appellant’s admission in a related proceeding that modifying the plate

of Arnould as detailed in the Petition was readily known. (Section VI).

      Next, the Board’s decision to reject Appellant’s unclear and vague

construction of the term “between” to mean “at, into, or across the space separating

two objects, places, or points” is fully consistent with the intrinsic evidence.

(Section VII.A). Moreover, under any construction of the term “between,” the

Board’s conclusion that the teachings of Arnould or Arnould in view of Zahiri

disclose a third hole “between” to a POSITA is appropriate. (Section VII.B).

      The combination of Arnould, Zahiri, and Myerson ’592 teaches the

requirements of claim 6 of the ’751 Patent, which Appellant does not seem to

substantively dispute. (Section VIII). The Board’s typographical error referring to

Myerson ’608 does not undermine these conclusions.

      Finally, the Board’s decision to institute on the ’751 Patent is a non-appealable

decision (Section IX.A) that nevertheless was not an abuse of discretion because



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both the Board and Appellant understood the metes and bounds of the arguments

raised in the Petition and Appellant has an opportunity to respond to each argument

below. (Section IX.B).

      The Board’s decisions should be affirmed in full.

                                  ARGUMENT

I.    STANDARD OF REVIEW

      This Court “review[s] the Board’s factual determinations for substantial

evidence and its legal determinations de novo.” Liqwd, Inc. v. L’Oreal USA, Inc.,

941 F.3d 1133, 1136 (Fed. Cir. 2019). The Board’s ultimate claim construction is

reviewed de novo, with any subsidiary findings involving extrinsic evidence

reviewed for substantial evidence. AC Techs. S.A. v. Amazon.com, Inc., 912 F.3d

1358, 1365 (Fed. Cir. 2019). The Board’s conclusion of obviousness is reviewed de

novo, with underlying factual findings reviewed for substantial evidence. Merck &

Cie v. Gnosis S.P.A., 808 F.3d 829, 833 (Fed. Cir. 2015). “Whether a skilled artisan

would have been motivated to combine references or would have had a reasonable

expectation of success in combining references are questions of fact reviewed for

substantial evidence.” Elekta Ltd. v. ZAP Surgical Sys., Inc., 81 F.4th 1368, 1374

(Fed. Cir. 2023).




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II.      THE BOARD CORRECTLY UNDERSTOOD THE “THIRD HOLE
         LIMITATIONS” (Both Proceedings)

         Appellant first contends the Board fundamentally erred “in construing the

‘angled hole’ limitations, thus infecting its obviousness analysis as to every

challenged claim.”4 ECF No. 22 at 2. Appellant did not ask the Board to construe

this claim element below, and its attempt to do so for the first time on appeal should

be rejected as forfeited. Even if Appellant’s untimely claim construction arguments

are considered, its proposal violates fundamental canons of claim construction and

is thus improper.

         A.    Appellant Forfeited Its Claim Construction Arguments

         Appellant improperly seeks review of its forfeited claim construction dispute

despite failing to ask the Board to construe the Third Hole Limitations. Appellant

concedes, “[n]either party formally requested construction of any part of element

[32f].” ECF No. 22 at 22; see also id. at 56. Appellant cannot hold back an argument

regarding its view of the proper scope of the claim term below, particularly where it

seeks to exclude the preferred embodiment, only to ask for de novo review on appeal.

See Finjan, Inc. v. Cisco Sys., 837 F. App’x 799, 811 n.11 (Fed. Cir. 2020) (“Finjan




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      While Appellant claims this argument broadly applies to “every challenged
      claim,” the Third Hole Limitations do not appear in claims 11-16 of the ’751
      Patent. See, e.g., ECF No. 22 at 56 (arguing about angled hole only as to
      independent claims 1 and 17 of the ’751 Patent).

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did not, however, raise this [claim construction] argument before the PTAB. It is

therefore waived.” (internal citation omitted)); see also CCS Fitness, Inc. v.

Brunswick Corp., 288 F.3d 1359, 1370-71 (Fed. Cir. 2002).

       Highlighting that its argument is new on appeal, Appellant cites to various file

histories of related patents that it failed to put into evidence below in support of its

positions.5 ECF No. 22 at 24-25 (citing Appx4948-4950, Appx4971, Appx4774-

4775). This Court has repeatedly held, however, that “a party may not introduce

new claim construction arguments on appeal or alter the scope of the claim

construction positions it took below. Moreover, litigants waive their right to present

new claim construction disputes if they are raised for the first time after trial.”

Conoco, Inc. v. Energy & Env’t Int’l, L.C., 460 F.3d 1349, 1358-59 (Fed. Cir. 2006).

Presenting wholly new evidence is a telltale sign that Appellant has “alter[ed] the

scope of the claim construction positions it took below.” Id. As such, this Court

need not reach Appellant’s Third Hole Limitation arguments.

       B.    Appellant’s New Appeal Arguments Violate Fundamental Tenets
             Of Claim Construction Law

       Even if this Court wades into Appellant’s claim construction dispute,

Appellant’s construction cannot be accepted because it reads out the preferred




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    Confirming this evidence was not of record in the proceedings below, Stryker
    asks this Court to take judicial notice of the evidence. ECF No. 22 at 25 n.5.

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embodiment of the Challenged Patents absent any basis in the intrinsic record to do

so. Appellant also wrongly ignores portions of the claims, and asks this Court to

rewrite the claims inconsistent with the intrinsic record.

             1.     Appellant’s Construction Improperly Reads Out The
                    Preferred Embodiment

      Appellant, for the first time on appeal, contends the plain language of Third

Hole Limitations narrowly covers only a hole bored at an angle within the main body

of the bone plate—an embodiment Appellant coins the “angled hole” embodiment.

ECF No. 22 at 23 (citing Appx108, 1:37-46), 25, 56. Specifically, Appellant asks

this Court to exclude from the plain meaning any embodiment described in the

Challenged Patents that includes an angled hole on a tab of the plate that extends

downward from the main body of the bone plate (i.e., the only embodiment depicted

in the figures of the patents).

      The intrinsic evidence does not support departing from this Court’s general

rule that “a claim interpretation that excludes a preferred embodiment from the scope

of the claim is rarely, if ever, correct.” On-Line Techs., 386 F.3d at 1138. Rather,

the language of the claims is broad enough to encompass any hole (on a plate

formation such as a tab or otherwise) angled relative to a longitudinal axis of the

plate through a thickness of the plate.        For example, the four figures in the

Challenged Patents—all of which depict the same tab embodiment—each show a

tab that angles downward from the main body of the plate that includes a hole.


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Appx106-107. Because the tab is angled relative to a longitudinal axis of the plate,

the hole on the tab is angled relative to a longitudinal axis of the plate. Moreover,

the hole on the angled tab of the plate extends through a thickness of the plate

because, as the specification details, “[t]he angled tab results from a cut out and a

deformation of a portion of the plate.” Appx108, 1:42-44.

      Where, as here, “claims can be reasonably interpreted to include a specific

embodiment, it is incorrect to construe the claims to exclude that embodiment,

absent probative evidence to the contrary.” Oatey, 514 F.3d at 1277; see also MBO

Lab’ys, 474 F.3d at 1333 (rejecting claim construction that would exclude

embodiments illustrated in the drawings); Lava Trading, Inc. v. Sonic Trading

Mgmt., LLC, 445 F.3d 1348, 1353-55 (Fed. Cir. 2006) (rejecting claim construction

that “excluded embodiments disclosed in the specification” including embodiments

in the drawings); Vanderlande Indus. Nederland BV v. Int’l Trade Comm’n, 366

F.3d 1311, 1320, 1322 (Fed. Cir. 2004). As this Court has explained, adopting a

construction that excludes the preferred embodiment “would require highly

persuasive evidentiary support”—support that does not exist in this case. SynQor,

Inc. v. Artesyn Techs., Inc., 709 F.3d 1365, 1378-79 (Fed. Cir. 2013).

      To justify departing from years of precedent, Appellant argues the Challenged

Patents “intentionally recite[] an ‘angled hole.’” ECF No. 22 at 25, 56. But none of

the claims recite “an angled hole.” Thus, even if the specification “repeatedly and



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consistently” characterizes an “angled hole” as different than an angled tab with a

hole, the inventors chose not to use that language in the claims. If anything, the

inventors’ decision not to use “angled hole” in the claims further undermines

Appellant’s attempt to exclude the preferred embodiment in its construction. For

this reason, Appellant’s citation to Barrday—implying the patents “repeatedly and

consistently characterize[] a claim term in a particular way”—is wholly inapposite.

ECF No. 22 at 25 (citing Barrday, Inc. v. Lincoln Fabrics Inc., No. 2022-1903, 2023

WL 7871688, at *4 (Fed. Cir. Nov. 16, 2023)).

      Appellant’s reliance on the prosecution history of the parent application to the

Challenged Patents does nothing to support its construction. ECF No. 22 at 24-25.

Preliminarily, this evidence was never presented to the Board.                 Moreover,

Appellant’s reliance on the claims and restriction requirement in the parent

application has no relevance to the appropriate construction here because the

language is not the same as the claims at issue in this case. Nevertheless, the

evidence undermines Appellant’s proposed construction and confirms that the

claims in this case broadly encompass both an angled hole bored into the body of

the plate and an angled hole on a tab. Specifically, before receiving a restriction

requirement from the Patent Office, the applicant broadly claimed in claim 1, “a

formation set at an angle with respect to a longitudinal axis of the plate, the formation

including a third hole…” Appx4919. Claim 9 depended from claim 1 and recited



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“the formation is a tab unitarily formed with the bone plate…” Appx4920. In other

words, the parent application prosecution history confirms the hole on the angled tab

is a subset of the angled hole. Appellant notably elected the narrower dependent

claim 9 (tab), yet now seeks a construction that would exclude a tab from the broader

independent claim 1 (angled hole). Appx4971. Appellant’s new prosecution history

argument also cannot be squared with the fact that it admits the ’713 Patent includes

claims that specifically recite the “angled tab” embodiment, which undermines any

assertion it was filed to only pursue the allegedly previously unelected “angled hole”

embodiment. See, e.g., ECF No. 22 at 24 (“other claims [of the ʼ713 Patent] are

clearly directed to an angled tab (or ‘extension’)”).

      The Third Hole Limitations are not limited to the “angled hole” embodiment

and should not be construed in a way that excludes the “advantageous” angled tab

embodiment. Google LLC v. EcoFactor, Inc., 92 F.4th 1049, 1058 (Fed. Cir. 2024).

Appellant’s attempt to construe the Third Hole Limitations to exclude the preferred

angled tab embodiment fails, and, with it, the majority of Appellant’s arguments on

appeal similarly fail.

             2.     Appellant Confusingly Lumps Together The Third Hole
                    Limitations, But Focuses Its Analysis On Language Unique
                    To The ’713 Patent

      The Third Hole Limitations each require that the hole is angled relative to the

plate with some variations in language. Appx110, 5:16-18 (“third hole being angled



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relative to a longitudinal axis of the plate through a thickness of the plate”) (’713

Patent, cl. 32); see also Appx117, 3:20-21 (“third hole is angled relative to the

longitudinal axis of said bone plate”) (’751 Patent, cl. 1), 4:56-57 (“third hole being

angled relative to said bone plate”) (’751 Patent, cl. 17). Despite the differences in

language, Appellant contends each of these terms should be construed similarly to

exclude the preferred embodiment. Looking at the specific language in claim 17 of

the ’751 Patent illustrates the impropriety of such a limited construction. That claim

does not require the hole to be through a thickness of the plate or even that the hole

is angled relative to a longitudinal axis of the plate. Instead claim 17 of the ’751

Patent broadly claims a third hole angled “relative to said bone plate.” Appx117,

4:56-57. A construction that would restrict this broad term to exclude a hole on an

angled tab of the plate lacks any modicum of support in the plain language of the

claims.

      Moreover, with respect to the remaining two Third Hole Limitation terms,

Appellant repeatedly ignores that the angle of the hole is relative to a longitudinal

axis of the bone plate. ECF No. 22 at 23, 27; Appx416 (arguing Arnould fails to

teach claim element [32f] because “screw hole 25 is not angled ‘through a thickness

of the plate’”). Appellant confirms its desire to rewrite the claim by omitting this

portion of the claim in its argument: “Under a proper construction of claim element

[32f] (‘third hole being angled…through a thickness of the plate’), the Board’s



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obviousness finding….” ECF No. 22 at 21 (ellipses in original). The claims do not

recite a “third hole angled through a thickness of the plate.” Appellant’s argument

that voids the description of the angle of the third hole as “angled relative to the

longitudinal axis of the plate” is a legally improper read of the claim. See Wasica

Fin. GmbH v. Cont'l Auto. Sys., Inc., 853 F.3d 1272, 1288 n.10 (Fed. Cir. 2017);

Bicon, Inc. v. Straumann Co., 441 F.3d 945, 950 (Fed. Cir. 2006); Appx110, 5:16-

18.

      Regardless, Appellant does not dispute, nor can it dispute, that the holes on

both the angled tab and angled hole embodiments are “angled relative to a

longitudinal axis of the plate” and are holes “through a thickness of the plate.”

       Hole Angled Relative
       to Longitudinal Axis
       of the Plate                                              Longitudinal
                                                                 Axis of Plate




                Through a Thickness
                of the Plate


Appx106, Fig. 2 (annotated). As depicted in annotated Figure 2 from the Challenged

Patents (above), hole 1a1 is angled relative to the axis of the plate because its axis is



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angled relative to the axis of the plate. Put differently, where the axis of the hole is

angled relative to the bone plate, the hole itself is equally angled relative to the axis

of the plate. Appellant’s argument to the contrary violates sound mathematical

principles, confirming the construction now proposed by Appellant is untenable.

             3.     Appellant Erroneously Rewrites The Claim Absent Any
                    Intrinsic Support

      Appellant’s construction also improperly seeks to re-write claim 32 of the

’713 Patent such that “a thickness” means only the main body of the plate. The ʼ713

Patent specifies, “[t]he invention relates to a plate fixed between two bone parts by

way of screws engaged in holes formed in the thickness of said plate.” Appx103,

Abstract.    This is the only reference to the “thickness” of the plate in the

specification. Appellant’s proposed construction requiring “a thickness,” as recited

in claim 32, to mean the main body of the plate, conflicts with this sole use of the

term because the screw that crosses between bones fixes the bone plate “between

two bone parts by way of screws engaged in holes formed in the thickness of said

plate.” Appx103, Abstract.




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Appx107, Fig. 3. Excluding this embodiment because the thickness of the tab is not

“a thickness of the plate” is unsupported by the language of the claim and improper.

See Phillips, 415 F.3d at 1312; see also Oatey, 514 F.3d at 1276. The Board

correctly ascertained the true meaning of claim 32 by interpreting the claim language

in light of the specification, that makes no distinction between a thickness of the

plate body and a thickness of an angled tab of the plate. Id.

      Appellant’s argument in footnote 4 that “[t]he Board’s construction renders

superfluous the language ‘through a thickness of the bone plate’” wrongly assumes

that the angled tab is not part of the bone plate. ECF No. 22 at 22 n.4 (emphasis in

original). As depicted in every figure, the tab angled downward in the ’713 Patent

is part of the bone plate and has a thickness. Appellant’s argument also contradicts

the limited disclosure of the ’713 Patent, which explains, “[t]he angled tab results

from a cut out and a deformation of a portion of the plate.” Appx108, 1:42-44. In




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other words, the hole through the tab is through a thickness of the plate because the

tab itself is a portion of the plate. Id.

       Accordingly, the Board’s invalidity findings should be affirmed.

III.   ARNOULD ALONE OR ARNOULD IN COMBINATION WITH
       ZAHIRI TEACH THE THIRD HOLE LIMITATIONS (Both
       Proceedings)

       A.     Arnould Alone Renders Obvious The Third Hole Limitations

       As to claims 32, 33, 36-39 of the ’713 Patent; and claims 1-3, 7-10, 17 and 18

of the ’751 Patent, Appellant contends on appeal that Arnould alone does not render

these claims obvious based on its improper construction. See, e.g., ECF No. 22 at

26-30, 56. Even if the merits are examined, however, the Board’s decision should

be affirmed because Arnould alone discloses the Third Hole Limitations. For

example, Appellee illustrated the angle of the hole relative to the longitudinal axis

of Arnould’s plate in its Petition:




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Appx203. Appellee similarly illustrated how the third hole of Arnould is angled

“through a thickness of the plate” as required by claim 32 of the ’713 Patent:




Appx204. After considering the same arguments Appellant raises on appeal, the

Board concluded that the Third Hole Limitations are “unequivocally shown in


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Arnould’s figures. Figure 2 of Arnould shows that hole 25 is disposed at an angle

to the longitudinal axis 11 of the plate.” Appx18-19; Appx76.

      Appellant readily admits “hole 25 is located at the end of leg 20, which itself

extends at an angle β from one longitudinal side of the plate body,” so its assertion

that the hole is not angled relative to the longitudinal axis of the Arnould plate lacks

merit. ECF No. 22 at 26 (citing Appx1160-1161, ¶¶23-24). Just as the hole on the

angled tab in the figures of the Challenged Patents is angled relative to a longitudinal

axis of the plate, the hole at the end of the leg of Arnould is similarly angled relative

to the longitudinal axis of the plate.

      Appellant further fails to refute that Arnould’s hole 25 is “the third

hole…through a thickness of the plate,” instead focusing on whether the third hole

is “angled” through a thickness of the plate. See, e.g., ECF No. 22 at 27. As

discussed above, claim 32 actually recites the “third hole being angled relative to a

longitudinal axis of the plate through a thickness of the plate.” Appx110, 5:16-18

(emphasis added). That Appellant makes identical arguments regarding the Third

Hole Limitations of the ’751 Patent, which contain no requirement regarding

“through a thickness of the plate” undermines its position on appeal that the

requirement has some unique meaning that cannot be found in the teaching of

Arnould. ECF No. 22 at 56. Arnould’s hole 25, therefore, renders obvious the Third

Hole Limitations to a POSITA without reference to the complimentary teachings of



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Zahiri. Appx110, 5:16-18 (’713 Patent, cl. 32); Appx117, 3:20-21 (’751 Patent, cl.

1), 4:56-57 (ʼ751 Patent, cl. 17).

      Appellant contends Appellee did not present an Arnould-only obviousness

theory below with respect to the Third Hole Limitation of claim 32 of the ’713

Patent. ECF No. 22 at 37 (“Rather than address Stryker’s argument and evidence,

OsteoMed’s reply argues instead (for the first time) that Arnould’s third hole alone

meets element [32f]…”). This theory was articulated in the Petition at the outset of

the case. Appx203-204. After presenting the annotated Arnould figures shown

above and citing to the corresponding evidence from Appellee’s expert, the Petition

unequivocally states: “Thus, a POSITA would find this element disclosed by

Arnould.” Appx204.

      Additionally, contrary to Appellant’s claims (ECF No. 22 at 29), the Board

did not rely on an argument not advanced by Appellee regarding the concave nature

of hole 25. In the Petition, Appellee pointed out that “Arnould describes a screw

hole 25 (third hole) configured such that the screw 30 forms a non-zero angle in

relation to the longitudinal axis of the plate body.” Appx203. To enable this non-

zero angle, “hole 25 comprises a concave surface that is substantially

complementary with head 32 of screw 30.” Appx201 (citing Appx1161-1162, ¶27).

The concave surface of the hole allows “the longitudinal axis 31 of this screw [to]

be inclined in relation to the longitudinal direction 11 of the plate body 10….”



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Appx1161-1162, ¶27; Appx203. “Thus, the trajectory of the third fixation member,

and therefore the third hole, is angled relative to the longitudinal axis of the plate.”

Appx203. This was not an instance where Appellant “had no opportunity to respond

to this argument,” as the argument can be ascertained from the very first paper filed.

      Arnould alone renders the Third Hole Limitations obvious as the Board found,

thus mooting Appellant’s arguments regarding the combination of Arnould and

Zahiri.    Even still, as discussed below, the Board’s decision regarding the

combinability of Arnould and Zahiri is fully supported.

      B.     Arnould In View Of Zahiri Renders Obvious The Third Hole
             Limitations

      Regarding the combination of Arnould and Zahiri, Appellant does not refute

that any claim limitation is missing from the combination (see, e.g., ECF No. 22 at

31 (“There is no dispute that Zahiri discloses a guide plate with an angled hole.”)),

but instead argues the combination is supported by just “one sentence,” thus

insinuating that there is insufficient evidence to affirm the Board’s decision. Id. at

30.   Appellant’s protestations regarding the length of Appellee’s rationale to

combine Arnould and Zahiri are both factually inaccurate and irrelevant. Appellee

dedicates pages of its Petition detailing the reasons to modify Arnould in view of the

teachings of Zahiri. See, e.g., Appx191-196. For the reasons described in Section

V below, substantial evidence supports the Board’s finding of a motivation to

combine Arnould and Zahiri with a reasonable expectation of success. The Board’s


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final written decision finding claims 32, 33, 36-39 of the ’713 Patent; and claims 1-

3 and 7-10, 17 and 18 of the ’751 Patent unpatentable should be affirmed. See

Elekta, 81 F.4th 1378; Transtex Inc. v. Vidal, No. 2020-1140, 2023 WL 1487425, at

*6 (Fed. Cir. Feb. 3, 2023); Tehrani v. Hamilton Techs. LLC, No. 2022-1732, 2023

WL 4231628, at *4 (Fed. Cir. June 28, 2023), cert. denied, No. 23-575, 2024 WL

674746 (U.S. Feb. 20, 2024).

IV.   ARNOULD ALONE OR ARNOULD IN COMBINATION WITH
      ZAHIRI TEACH TEMPORARY FIXATION (Both Proceedings)

      Appellant next contends Arnould and Arnould in view of Zahiri fail to teach

“temporary fixation pins” (’713 Patent, cl. 38); “a temporary fixation member

configured to be inserted through the fifth hole” (’751 Patent, cl. 11); and “a pin

hole…configured to accept a temporary fixation member” (’751 Patent, cl. 17)

(collectively, the “Temporary Fixation Limitations”).6 ECF No. 22 at 44, 63-68.

Appellant’s arguments regarding the Temporary Fixation Limitations focus on

whether it would be appropriate to incorporate the undisputed temporary fixation

mechanism from Zahiri into Arnould. ECF No. 22 at 63-68. This entire argument

ignores that Appellee put forth undisputed evidence that Arnould alone disclosed the




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    These same concepts are claimed in claims 9 and 10 of the ’751 Patent, but
    Appellant inexplicably does not challenge the Board’s decision as to those
    claims. Appx117, 3:55-60.

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Temporary Fixation Limitations. For example, the Petition for the ’713 Patent

explains with annotated figures of Arnould:

      While Arnould does not explicitly describe the use of k-wires to
      temporarily hold the plate in place while the screws are inserted, the
      figures show pin holes that are intended to be used to temporarily secure
      the plate with k-wires during the implantation process…K-wires are
      commonly used for temporary placement, alignment and
      immobilization of bone plates so that the surgeon can correctly position
      and align a plate.

Appx193-194 (internal citations omitted). As a result, Appellee contended that “a

POSITA would find this claim obvious in view of Arnould.” Appx216-217 (internal

citations omitted). In similar fashion, Appellee’s Petition directed to the ’751 Patent

relies on the same disclosure in Arnould, articulating “A POSITA would understand

that Figure 2 of Arnould illustrates temporary guide holes (circled in red below) that

are used to temporarily secure the plate during the implantation process.” Appx3190

(internal citations omitted).

      Appellee’s expert supported these assertions, opining “(1) k-wires were

‘commonly used for temporary placement and immobilization of bone plates so that

the surgeon can correctly position and align a plate’; and (2) a POSITA would have

understood Arnould’s figures to ‘show pin holes that are intended to be used to

temporarily secure the plate with k-wires during the implantation process.’” Appx39

(quoting Appx820-821, ¶194; Appx842, ¶240); see also Appx91; Appx216-217;

Appx3190-3191. Importantly, as the Board concluded, Appellant provided no



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support to establish Appellee’s expert was wrong regarding Arnould’s pin holes.

Appx39 (“Neither of Patent Owner’s declarants dispute this testimony.”); Appx91.

In the ’751 Patent proceeding, the Board similarly found Arnould depicts

“temporary guide holes that may be used to temporarily secure the plate.”

Appx90-91. “If it were true, as [Appellant] asserts, that there is no need for

temporary fixation pins given the configuration of Arnould’s plate, then there would

be no reason for those pin holes. Yet, those holes are clearly depicted in Arnould’s

figures, and [Appellant] offers no alternative explanation for their purpose.”

Appx91.

      When asked about these holes at his deposition, Appellant’s expert testified

that he does not know what these holes are. Appx1510-11, 79:3-80:19. Appellee’s

expert, on the other hand, explained that the small holes in Arnould’s plate were for

use with k-wires, which are temporary fixation members. Appx820-821, ¶194;

Appx842, ¶240; Appx3756-59, ¶¶251-255. As a result, the Board properly weighed

the expert testimony and found Appellee’s expert “more credible.” Appx41 (internal

citations omitted); Appx92. This mirrors this Court’s recent holding in Rembrandt

Diagnostics, LP v. Alere, Inc., where “[Appellant], as the Board explained, ‘cites to

no counter testimony from a qualified declarant to refute [Appellee’s expert’s]

conclusions regarding how [a skilled artisan] would have interpreted the identified

disclosures.’” 76 F.4th 1376, 1386 (Fed. Cir. 2023). Because Arnould alone


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discloses the Temporary Fixation Limitations, and Appellant does not challenge that

finding on appeal, the Board’s decisions should be affirmed.

      Nevertheless, the Board’s conclusion that there was ample rationale to look to

the disclosure of Zahiri’s temporary fixation mechanisms was appropriate. Perhaps

the most persuasive evidence of this is the fact that Arnould itself discloses

temporary fixation holes “that may be used to temporarily secure the plate.” Appx40

(’713 Patent); see also Appx91 (’751 Patent). As the Board explained,

      Given that Arnould’s plate already has pin holes that Mr. Sherman
      testifies are intended for use with k-wires, we agree with and credit
      Mr. Sherman’s testimony that a POSITA would have been motivated
      to incorporate the temporary fixation pins expressly taught in Zahiri
      to ensure correct placement of Arnould’s plate.

Appx40 (’713 Patent) (internal citations omitted); see also Appx90-91 (’751

Patent). Moreover, as argued in the Petitions, Arnould discusses the difficulty of

proper plate alignment faced by the surgeon during implantation and the importance

that proper placement has on patients’ comfort.         See, e.g., Appx194 (citing

Appx1155, ¶3). That Arnould itself depicts guide pin holes on the plate would direct

a POSITA to look to incorporate the use of temporary pins, undisputedly disclosed

by Zahiri, into Arnould, to ensure correct placement.

      On appeal, Appellant contends, as it did below, that “Arnould’s disclosure

renders unnecessary Zahiri’s ‘known technique for improving plate alignment

during implantation.’” ECF No. 22 at 64. But this argument again ignores that


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Arnould’s figures show pin holes in the plate and Appellant offers no reason (on

appeal or below) for the purpose of these holes to contradict the credited

testimony of Appellee’s expert.         See Appx40; Appx91.         Moreover, while

Appellant contends Arnould’s disclosure of oblong hole 16 that can be used to

“partially immobilize the plate body” (ECF No. 22 at 64), this does not obviate

the motivation to use k-wires or incorporate Zahiri’s temporary fixation pins to

further immobilize the plate to ensure correct alignment, as the Board concluded.

Appx40-41 (’713 Patent); Appx91-92 (’751 Patent). In reaching this conclusion,

the Board considered testimony from Appellee’s expert and Appellant’s two

experts and again found Appellee’s expert more credible. Appx41; Appx92.

      Appellant next contends that incorporating the temporary fixation mechanism

detailed in Zahiri into the plate of Arnould would render it inoperable for its intended

purpose. As a preliminary matter, Appellant does not appear to have advanced this

“inoperability” argument before the Board. Regardless, Appellant’s argument falls

flat in light of Arnould’s disclosure of temporary fixation pin holes and Appellant’s

failure to offer any alternative rationale for these holes in the plate of Arnould, and




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failure to dispute Appellee’s credible expert testimony that these pin holes would be

used for temporary immobilization with k-wires.7 Appx39; Appx91.

        The Court should not disturb the well-reasoned and evidence-supported

findings of the Board, and should affirm the Board’s holding that Arnould alone and

Arnould in view of Zahiri discloses the Temporary Fixation Limitations. Merck,

808 F.3d at 837.

V.      THE BOARD CORRECTLY DETERMINED THAT A POSITA
        WOULD HAVE BEEN MOTIVATED TO COMBINE ARNOULD AND
        ZAHIRI (Both Proceedings)

        In determining a POSITA would have been motivated to modify Arnould in

light of the teachings of Zahiri, the Board considered all the parties’ arguments and

expert testimony regarding the motivation to combine Arnould and Zahiri. Appx20-

26, Appx37-41; Appx77-86, Appx88-92. Appellant’s arguments on appeal ignore

the contrary evidence on which the Board properly relied and improperly asks this

Court to reweigh evidence.




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     Appellant repeatedly touts the overwhelming expertise of its “renowned”
     orthopedic surgeon expert who has used foot plates for decades, yet concedes he
     did not know what the pin holes depicted in Arnould could be used for or why
     they would be shown on the plate if they served no purpose. ECF No. 22 at 65
     n.12 (citing Appx1510-1511 (79:15-80:19)).

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      A.       The Board Considered The Propriety Of Combining The
               Teachings Of Arnould And Zahiri In Detail And Correctly
               Determined Substantial Evidence Supported The Combination

      On appeal, Appellant ignores the substantial evidence supporting the Board’s

decisions, incredibly arguing “the Board’s only basis for combining the disparate

references of Arnould and Zahiri stands on the shoulders of a generic, overbroad

statement     made    by     [Appellee’s]   expert,   Mr.   Sherman,    regarding   the

interchangeability of devices for treating joint fusion and fractures.” ECF No. 22 at

2 (emphasis added). Appellant woefully understates the evidence that supports the

Board’s decision.

      Appellee detailed why a POSITA would be motivated to combine the

teachings of Zahiri with Arnould’s disclosure. Appx191-196; Appx3188-3192.

While Appellant cites to a lone paragraph in Appellee’s expert declaration, it

overlooks the pages of analysis in his declarations that support the combination,

including, for example:

            • Arnould and Zahiri both “disclose bone plates with diagonal fixation
              members configured to compress the intersection of a first and second
              bone or across a fracture” (Appx818, ¶191);

            • Arnould and Zahiri are “in analogous fields of invention” because
              “there are no practical differences between fusing a joint through
              arthrodesis and fusing a bone fracture” (Appx818, ¶191);

            • “[A] POSITA would look to Zahiri when making improvements to
              Arnould’s bone plate” because “[a] POSITA would know that bone
              plates configured for arthrodesis and bone plates configured to fuse



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            bone fractures have been used interchangeably for decades” (Appx820,
            ¶193);

         • “Arnould discusses the difficulty of proper plate alignment faced by the
           surgeon during implantation and the importance that proper placement
           has on patients’ comfort. Zahiri further discusses the importance of
           plate alignment and specifically discloses the use of temporary locking
           pins to temporarily secure the bone plate to the bone during
           implantation” (Appx821, ¶194);

         • “Thus, in order to achieve the stated goal from Arnould of locking
           screw 30 by the head 32, it would have been obvious to a POSITA to
           use the seated head of the lag screw from Zahiri to ensure the third
           fixation member is seated in the third hole” (Appx831, ¶216); and

         • “[A] POSITA would have readily looked to Zahiri for a way to improve
           the integrity of the angled fixation screw, which includes putting the
           screw through a thickness of the plate” (Appx833, ¶221).

      In its decisions, the Board adopted Appellee’s rationale and explicitly credited

the testimony of Appellee’s expert. Appx21 (citing Appx201-202, Appx204-205);

Appx79-80 (citing Appx3196-3197, Appx3202-3203); see also Appx21-22 (citing

Appx819-820, ¶193); Appx80 (citing Appx3755-3756, ¶249); Appx39-40; Appx81.

This included Appellee’s contention that “a POSITA would have been motivated to

make this combination because Zahiri teaches that this arrangement ‘allows a

sufficient amount of force to be applied between bone parts while dissipating the

force so that it does not damage the bone parts….’” Appx21-22 (citing Appx192-

193; Appx1181, 5:65-6:11); Appx80 (citing Appx3189-3190; Appx1181, 5:65-

6:11). As the Board concluded, “Zahiri teaches that this configuration is desirable

because it dissipates compression forces, which avoids ‘failure by loosening of


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the device’ and keeps the bone cortex ‘healthy and intact.’” Appx22 (internal

citation omitted).

      While Appellant seems to argue this rationale and testimony is inapplicable

because, in its view, Zahiri is not a “bone plate” (see ECF No. 22 at 34), Appellant

does not appeal the Board’s conclusions that Zahiri is a bone plate and is analogous

art. Appx8-11, Appx22-23 (citing In re Bigio, 381 F.3d 1320, 1325 (Fed. Cir. 2004);

Appx108, 1:18-19 (“The invention relates to the technical field of orthopedic

implants.”)); see also Appx58-60, Appx81-82 (citing Appx116, 1:27-28).

      After considering all of the evidence, including the testimony of Appellant’s

two declarants, the Board found the more credible position and evidence to be that

of Appellee’s, and as a result found the challenged claims unpatentable. This sound

opinion should not be disturbed simply because Appellant desires for this Court to

re-weigh the evidence and find its experts to be the more credible witnesses.

      B.    Appellant’s Arguments Regarding The Combination Of Arnould
            And Zahiri Fail

      To rebut the Board’s decision to combine the teachings of Arnould and Zahiri,

Appellant advances three primary arguments: (1) Appellee’s expert testimony was

“conclusory,” (2) the Board ignored Dr. Holmes (Appellant’s expert), and (3)

alleged differences to the companion cases. ECF No. 22 at 32-37. None of these

reasons warrant reversal.




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            1.     Mr. Sherman’s Testimony Is Not Conclusory

      Appellant first suggests two statements of Mr. Sherman’s declaration are

conclusory, thus tainting his entire analysis and undercutting any motivation to

combine these references. ECF No. 22 at 32-34. The two statements refer to the

fact that a POSITA would have considered a reference like Zahiri when modifying

Arnould because “there are no practical differences between stabilizing a joint for

the purposes of arthrodesis [Arnould] and stabilizing two bone parts for the purpose

of fusing a bone fracture [Zahiri]” and “that bone plates configured for arthrodesis

and bone plates configured to fuse bone fractures have been used interchangeably

for decades.” Appx819-820, ¶193; see also Appx3755-3756, ¶249.

      Tellingly, Appellant does not refer this Court to any of the other evidence

concerning the motivation to combine Arnould and Zahiri presented in the Petitions

and supporting expert declarations detailed above in Section V.A.           See, e.g.,

Appx21-22 (citing Appx192-193) (crediting argument a POSITA would be

motivated to make the combination because Zahiri teaches that this arrangement

“allows a sufficient amount of force to be applied between bone parts while

dissipating the force so that it does not damage the bone parts”); Appx40 (citing

Appx820-823, ¶¶194-196, Appx847-849, ¶¶240-242) (crediting Mr. Sherman’s

testimony regarding the incorporation of Zahiri’s pin holes “[g]iven that Arnould’s

plate already has pin holes that Mr. Sherman testifies are intended for use with k-



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wires”); see also Appx80 (citing Appx3189-3190); Appx91-92. For this reason,

Appellant’s reliance on TQ Delta, LLC v. Cisco Systems, Inc., 942 F.3d 1352 (Fed.

Cir. 2019) (ECF No. 22 at 32-33), has no bearing on the facts of this case.

Appellant’s selective citation of the facts does not undermine that the Board

considered the evidence and testimony in the Petition and expert declarations,

finding “[Appellee’s] arguments and evidence persuasive.” Appx22; Appx80-81.

            2.     The Board Considered Dr. Holmes’ Testimony, Yet Found
                   Mr. Sherman To Be More Credible

      Appellant next complains the Board “ignored” Dr. Holmes’ testimony

“without explanation.” ECF No. 22 at 35. This argument, however, cannot be

squared with the Board’s decisions, which repeatedly refer to the testimony from

Appellant’s experts and weigh that testimony against Appellee’s expert. See, e.g.,

Appx10; Appx20, Appx23; Appx24; Appx33; Appx41; Appx39; Appx60; Appx63-

64; Appx77; Appx82; Appx92; Appx98. That the Board concluded Appellee’s

expert offered more credible testimony does not somehow render its consideration

of Appellant’s experts null and void.

      In support of its argument, Appellant cites this Court’s decision in Google Inc.

v. Intellectual Ventures II LLC, 701 F. App’x 946, 953-55 (Fed. Cir. 2017). In

Google, however, the Board “did not acknowledge any of Google’s evidence, let

alone explain why it considered such evidence unconvincing.” Id. at 954. Here, on

the other hand, the Board confirmed it did consider Dr. Holmes’ testimony yet found


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“Mr. Sherman’s testimony to be more credible then [sic] the competing testimony

[Appellant] cites from…Dr. Holmes.” Appx41 (internal citations omitted); Appx92.

Thus, unlike the Board in Google, the Board in this case not only acknowledged

Appellant’s evidence, but confirmed it considered the evidence and testimony,

including that of Dr. Holmes, in finding the challenged claims unpatentable. See

Appx5; Appx54.

      This Court “review[s] the Board’s determinations as to what weight to accord

expert testimony for abuse of discretion.” Tehrani, 2023 WL 4231628 at *2 (citing

Shoes by Firebug LLC v. Stride Rite Children’s Grp., LLC, 962 F.3d 1362, 1372

(Fed. Cir. 2020)). Considering both experts agree that at least “some bone plates

may be used interchangeably for arthrodesis and for osteosynthesis” (see, e.g., ECF

No. 22 at 34), the Board was well within its discretion to find Mr. Sherman’s

testimony credible and compelling over the competing testimony of Dr. Holmes.

The Board’s decision should be affirmed. Tehrani, 2023 WL 4231628 at *2-3.

             3.     The Substantive Differences Of The Companion Cases
                    Makes Them Irrelevant To This Case

      Appellant next attempts to draw in the “companion cases on appeal” to

suggest positions taken in different proceedings regarding different prior art

references (i.e., Falkner) in the analysis of different claims with different scope using

different invalidation theories (i.e., anticipation) are somehow “inconsistent.” ECF

No. 22 at 36.


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      The chief distinction between the companion cases and the present case is the

use of a blade-plate reference (Falkner) that knifes into the bone unlike any reference

here, used in an anticipation ground, that Appellant had to modify in order to try

and capture the claims at issue in that case. Appx5128-5129; Appx5139. To

anticipate, “the prior art reference…must not only disclose all elements of the claim

within the four corners of the document, but must also disclose those elements

‘arranged as in the claim.’” Net MoneyIN, Inc. v. Verisign, Inc., 545 F.3d 1359,

1369-70 (Fed. Cir. 2008) (quoting Connell v. Sears, Roebuck Co., 722 F.2d 1542,

1548 (Fed. Cir. 1983)). In contrast, to render a claim obvious, the Supreme Court

has held “the analysis need not seek out precise teachings directed to the specific

subject matter of the challenged claim, for a court can take account of the inferences

and creative steps that a person of ordinary skill in the art would employ.” KSR Int’l

Co. v. Teleflex Inc., 550 U.S. 398, 418 (2007).

      The stark differences between Falkner and the references at issue in this case,

and the legal theories present in each case, make clear that the Board was well within

its discretion to keep the proceedings separate. Thus, the Board’s decision should

remain unchanged.




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             4.    The Board Considered Appellant’s Remaining Challenges
                   To The Arnould And Zahiri Combination And Properly
                   Rejected Them

      Appellant challenges the Board’s finding that “[Appellee’s] combination is

premised on modifying hole 25 in Arnould’s plate to have Zahiri’s angled hole

configuration. That combination would retain Arnould’s flexible plate, while fixing

or at least limiting the angle of screw 30 through the hole.” ECF No. 22 at 37

(quoting Appx24-25). Appellant further argues the record shows a POSITA would

not have been motivated to combine Arnould with Zahiri “because doing so would

abolish Arnould’s flexible plate.” Id., 39. Yet, “as detailed in the Petition, a

POSITA would be motivated to improve the integrity of hole 25 while still ensuring

flexibility of the screw trajectory because of pliable leg 20.” Appx468 (citing

Appx201, Appx202); see also, e.g., Appx25; Appx84. Moreover, as the Board

found, based on Appellee’s evidence, “a POSITA could compensate for the fixed

angle” because Zahiri discloses providing plates with a variety of angles in a kit so

that a surgeon can maximize fixation based on the particular needs of a patient.

Appx25; Appx83.

      Appellant then argues incorporating Zahiri’s hole would simply “achieve

redundant purposes.” ECF No. 22 at 40. If anything, that the teachings of both

references are used to achieve similar purposes simply confirms the Board’s

conclusions that a POSITA would have been motivated to combine them. Moreover,



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that both plates use a screw that crosses two bones or two bone parts does not reduce

the incentive to improve Arnould’s implementation of that function with the

teachings of Zahiri. Zahiri importantly expands on the teachings of Arnould,

providing an improved integrity to the seating of the screw head. Thus, Zahiri’s hole

is not merely redundant to Arnould’s. Appx202 (citing Appx1182, 7:31-38); see

also Appx22 (“Zahiri teaches that this configuration is desirable because it dissipates

compression forces, which avoids ‘failure by loosening of the device’ and keeps the

bone cortex ‘healthy and intact.’”) (quoting Appx1181, 5:65–6:7); Appx3178-3179;

Appx80-81 (same).

      Moreover, pointing to this Court’s recent holding, the Board explained, “a

skilled artisan may be motivated to combine particular features of different

references, e.g., to secure some benefits at the expense of others, even when bodily

incorporation would be impossible or inadvisable.” Appx25-26 (quoting Axonics,

Inc. v. Medtronic, Inc., 73 F.4th 950, 957 (Fed. Cir. 2023)). The Board found this

instruction pertinent to this case, “where [Appellee] is proposing a relatively minor

change to Arnould’s plate, i.e., modifying the existing hole 25 in Arnould’s plate to

incorporate Zahiri’s angled hole configuration.” Appx26; Appx85. The Board

further found “[t]here is no indication this configuration would not work if adapted

to and sized for the dimensions of Arnould’s plate and the anatomy of the metatarsal-

phalangeal joint through the exercise of a POSITA’s ordinary creativity.” Appx26;



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Appx85. The Board again credited Mr. Sherman’s testimony demonstrating that

plates for fusing fractures and joints were known to be interchangeable. Appx26

(citing Appx819-820, ¶193); Appx85 (citing Appx3719, ¶134).

      Appellant next challenges the reasonable expectation of success in making the

Arnould-Zahiri combination. ECF No. 22 at 40-43. Substantial evidence supports

the Board’s finding that bone plates for joint fusion and bone fusion have been used

interchangeably, as both experts agreed that this was true. Appx22; Appx81 (same);

ECF No. 22 at 34 (“some bone plates may be used interchangeably for arthrodesis

and osteosynthesis”). Substantial evidence also supports the fact that modifying

Arnould’s hole would have been a “relatively minor change” as the Board described.

Appx26; Appx85.      “Arnould teaches that the concave surface of hole 25 ‘is

substantially complementary to an associated surface delimited by’ the head of

screw 30….” Appx19 (quoting Appx1161-1162, ¶27); Appx76 (same). “Petitioner

proposes modifying hole 25 in Arnould’s plate to incorporate the angled hole with a

seated screw head configuration depicted in Figure 1 of Zahiri.” Appx21 (citing

Appx201-202, Appx204-205); Appx80 (citing Appx3196-3197, Appx3202-3203).

A POSITA would have found modifying the bore geometry to accept a different,

well-known screw type in a known cross-bone trajectory to be a trivial task. See

Appx819-820, ¶193; Appx3755-3756, ¶¶248-249.




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         Finally, Appellant complains of the Board’s use of the words “ordinary

creativity,” stating the Board used this as a “gap filler.” ECF No. 22 at 43.

Consistent with its selective analysis of the record and the Board’s opinion,

Appellant’s argument ignores the evidence supporting the modification, and the

POSITA’s reasonable expectation of success in making the modification. As this

Court recently reiterated, “[t]he expectation of success need only be reasonable, not

absolute.” Transtex, 2023 WL 1487425 at *5 (quoting Pfizer, Inc. v. Apotex, Inc.,

480 F.3d 1348, 1364 (Fed. Cir. 2007)). The Board thus found, “[t]here is no

indication this configuration would not work if adapted to and sized for the

dimensions of Arnould’s plate and the anatomy of the metatarsal-phalangeal joint

through the exercise of a POSITA’s ordinary creativity.” Appx26; Appx85. Like

this Court found in Transtex, “[t]hat was sufficient.” Transtex, 2023 WL 1487425

at *5.

VI.      ARNOULD, ZAHIRI, AND MYERSON ’608 RENDER OBVIOUS
         CLAIMS 34 AND 35 OF THE ’713 PATENT (’713 Patent Proceeding)

         Turning to the final issue regarding the ’713 Patent, Appellant contends in a

single paragraph of its brief the Board’s findings that claims 34 and 35 of the ’713

Patent were obvious in view of Arnould, Zahiri, and Myerson ’608 are not supported

by substantial evidence. In large part, Appellant’s argument focuses on the alleged

impropriety of the Arnould and Zahiri combination. ECF No. 22 at 44. In framing

the issue in that light, Appellant ignores the Board concluded that claim 32 (from


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which claims 34 and 35 depend) was taught by Arnould alone. Appx20; Appx44.

Moreover, Appellant cannot reasonably argue against adding in the locking screws

and threaded holes disclosed in Myerson ’608 given that it conceded:

      Arnauld [sic] is directed to an arthrodesis plate for use in the lower
      extremities and specifically recognizes that bone plates used for the
      lower extremities are particularly prone to screw back-out due to
      loading conditions and constant use of the foot.

Appx1755. For this reason, Appellant argued it would have been obvious to

incorporate threaded screw holes into Arnould to be used with locking screws with

a reasonable expectation of success “given that locking screws with threaded heads

that mated with threads in the plate holes were common at the time.” Id. Consistent

with these admissions and the arguments presented below, the Board again found

the testimony of Appellee’s expert to be credible and persuasive. Appx43.

VII. THE BOARD PROPERLY CONSTRUED THE TERM “BETWEEN”
     IN THE ’751 PATENT AND DETERMINED THAT THE
     LIMITATION WAS TAUGHT IN THE ART (’751 Patent Proceeding)

      Appellant next complains the Board erroneously construed “between” as used

in the claims of the ʼ751 Patent because the Board rejected Appellant’s argument

that “between” means “at, into, or across the space separating two objects, places, or

points.” ECF No. 22 at 45-46. The Board’s understanding of “between” is rooted

in the claims and disclosure of the ʼ751 Patent itself and should be affirmed.

Appx61-65.




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      With the correct construction in hand, the Board properly concluded that

Arnould alone or Arnould in view of Zahiri taught a third hole “between” the first

and second holes.

      A.     The Board’s Decision To Reject Appellant’s Construction Of
             “Between” Should Be Affirmed

             1.     The Intrinsic Record Supports The Board’s Construction Of
                    “Between”

      When the intrinsic record is properly consulted before relying on extrinsic

evidence, it is apparent the Board construed “between” correctly. We begin with the

language of the claims, which generally require first and second holes on each end

of the bone plate and a third hole located “between” those first two holes. Appx117,

3:19-20 (“a third hole located between said first hole and said second hole”) (ʼ751

Patent cl. 1), 4:3-4 (“a third hole and a fourth hole located between the first hole and

the second hole”) (ʼ751 Patent, cl. 11), 4:54-55 (“a third hole located between said

first hole and said second hole”) (ʼ751 Patent, claim 17). In every claim of the ’751

Patent, the third hole is broadly recited as merely “between” the first and second

holes with no additional limitation as to location. Appx117, 3:19-21. As such, the

claims do not support any limitation on the meaning of “between” as Appellant

advances.

      The specification of the ’751 Patent further confirms that the Board properly

construed the term “between” in the ’751 Patent because figures 1-4 display a hole



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1a1 (green below) on a tab 1a, where the hole is in a different plane than the main

body and is offset as illustrated below. Appx114-115, Figs. 1-4.




Appx3482. Even though the green hole is below the plate, it is still “between” the

first and second holes. Appx114, Fig. 2. Any construction that the third hole must

be between the first two holes in a specific planar orientation excludes a primary

embodiment disclosed in the ʼ751 Patent and should be rejected. On-Line Techs.,

386 F.3d at 1138; see also Google, 92 F.4th at 1058; Oatey, 514 F.3d at 1276; MBO

Labs., 474 F.3d at 1333.

      The specification provides further support for the Board’s construction as the

ʼ751 Patent describes a “plate [that] has a formation that orients at least one screw.”

Appx116, 1:45-48. The formation can take shape as either “a tab that is angled

according to an angle between 30º and 60º,” the tab having a hole, or “a hole angled

at an angle between 30° and 60°.” Id., 1:49-55. The angled tab is “cut out and

deformed from the plate” using a cutting-punching operation.             Id., 2:12-14.



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Appellant does not contest the hole 1a1 on the tab 1a is in a different plane and

different axis as the plate. See ECF No. 22 at 48.

      The intrinsic evidence thus confirms the propriety of the Board’s construction

that the plain and ordinary meaning of the term “between” is not limited to the

abstract definition “at, into, or across the space separating two objects, places, or

points.” Phillips, 415 F.3d at 1320-23.

             2.     Appellant Erroneously Resorts To Extrinsic Evidence To
                    Undermine The Plain Meaning Of “Between”

      While Appellant recognizes “claims should be construed in light of the plain

and ordinary meaning to a POSITA in view of the intrinsic evidence,” Appellant’s

analysis nevertheless begins with extrinsic evidence, namely, a dictionary definition

of “between.” ECF No. 22 at 48 (citing Phillips, 415 F.3d at 1312-13). According

to Appellant, this dictionary informs how a POSITA would understand the claimed

“third hole located between said first hole and said second hole.” Id. at 49. Finally,

Appellant suggests its construction based solely on extrinsic evidence is “consistent

with the ‘751 Patent.” Id. at 48.

      Appellant’s use of “a broad dictionary definition…whittled down only if

contradicted by the specification” is improper. Acumed, 483 F.3d at 809 n.2; see

also Phillips, 415 F.3d at 1320-21 (citing Texas Digital Systems, 308 F.3d at 1204).

As this Court made clear in Phillips, consulting the specification “only after a [claim

construction] determination is made, whether based on a dictionary, treatise, or other


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source, as to the ordinary meaning or meanings of the claim term in dispute…limits

the role of the specification in claim construction to serving as a check on the

dictionary meaning of [the] claim term.” Phillips, 415 F.3d at 1320. Such a

construction “elevat[es] the dictionary to such prominence that it focuses the inquiry

on the abstract meaning of words rather than on the meaning of claim terms within

the context of the patent” which “risks transforming the meaning of the claim term

to the artisan into the meaning of the term in the abstract, out of its particular context,

which is the specification.” Id. at 1321. This forbidden practice is precisely what

Appellant has done in this case, defining the term based on a generic dictionary

definition before concluding this abstract definition is “consistent with the ‘751

Patent.” ECF No. 22 at 46. Appellant’s flawed approach should be rejected.

Phillips, 415 F.3d at 1320-21.

      Even worse, later in its brief, Appellant wrongly equates “between” to

“disposed along the spine,” a term present in one of Appellee’s patents—another

source of extrinsic evidence. ECF No. 22 at 55 (citing Appeal No. 23-1925,

Appx4386, Appx2496-2498 (¶¶162-166)). First, “[t]here is presumed to be a

difference in meaning and scope when different words or phrases are used in separate

claims.” Promptu Systems Corp. v. Comcast Corp., 92 F.4th 1372, 1383 (Fed. Cir.

2024) (quoting Tandon Corp. v. U.S. Int’l Trade Comm’n, 831 F.2d 1017, 1023 (Fed.

Cir. 1987)). Terms in Appellee’s patent have no bearing on the meaning of claim



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terms in Appellant’s patent, and Appellant has provided no reason to overcome this

presumption. Id. And, even if “between” meant “disposed along the spine” as that

term is used in Appellee’s patents, it is disingenuous for Appellant to argue that hole

25 does not satisfy such a requirement when it argued that Arnould’s hole 25 was

“disposed along the spine” in another proceeding. See, e.g., Appx4575.

      Appellant’s attempt to narrowly construe “between” contrary to the intrinsic

record through extrinsic dictionary support is flawed, founded upon legally flawed

principles, and should be rejected. Phillips, 415 F.3d at 1320-21.

             3.     Appellant Acknowledges Its Proposed Construction Lacks
                    Clarity

      Later in its brief, Appellant appears to acknowledge its proposed construction

of “between” lacks clarity, and attempts to provide a new construction on appeal that

the claimed third hole “lie along ‘said length defining a longitudinal axis’ defined

by ‘a first end and a second end along said length.’” ECF No. 22 at 53-54. This

argument has been waived. Conoco, 460 F.3d at 1358-59.

      Even still, neither the claim language nor the specification supports this read

of the claim, as the lone citation to Appellant’s expert’s deposition testimony

confirms. ECF No. 22 at 54 (citing Appx1379-1380, 151:18-152:25); see also

Appx74 (“There is nothing in the ordinary meaning of ‘between’ that would require

the third hole to lie on the same axis between the first and second holes.”). Claim 1,

for example, requires only that the “third hole [be] located between said first hole


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and said second hole” which themselves are located “at or adjacent” the first and

second ends. Appx117, 3:9-21. Claims 11 and 17, which recite equivalent holes to

claim 1’s “third hole,” don’t even claim a longitudinal axis and instead describe the

first and second holes as being “configured to align” with a first and second bone

part. Id. at 3:67-4:4 (“a third hole and a fourth located between the first hole and the

second hole”), 4:48-55 (“a third hole located between said first hole and said second

hole”). Appellant’s arguments further confirm the inadequacy of its proposed

constructions, and reveal why the Board’s adopted construction is correct.

      B.     The Board Properly Concluded The Prior Art Renders Obvious “A
             Third Hole Between Said First Hole And Said Second Hole”

             1.     Substantial Evidence Of Obviousness Exists Based On
                    Arnould

      Appellant no substantial evidence supports the Board’s decision finding the

prior art renders obvious the claimed “third hole located between said first hole and

said second hole,” claiming that Appellee did not even address the element below.

ECF No. 22 at 49 (citing Appx3195-3196, Appx3204, Appx3209). To justify this

argument, Appellant provides a single annotated image from the Petition and argues

that nowhere in the figure does Appellee explain how hole 25 is between the first

and second holes. ECF No. 22 at 50 (citing Appx3196). In the pages of the Petition

preceding the cited image, Petitioner included additional annotated figures




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identifying the location of the claimed first holes and second holes in Arnould’s

plate:




Appx3194, Appx3195. Armed with this background, the Petition then argues that

hole 25 is the claimed third hole. Appx3196. This is shown again with respect to

claim 17 of the ’751 Patent:




Appx3210. This is precisely what the Board found at institution. Appx3335 (“From

Petitioner’s annotated Figure 2 and discussion concerning screw 30 and hole 25, it

appears that hole 25 is between the first and second holes as required.” (citing

Appx3196)).




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      After Appellant advanced its claim construction theory for “between” in its

Patent Owner Response discussed above, Appellee properly addressed the flaws

with this construction in Reply, particularly as it relates to the application of the plain

meaning of “between” to the disclosure of Arnould. Parkervision, Inc. v. Vidal, 88

F.4th 969, 980 (Fed. Cir. 2023) (“Once [Patent Owner] introduced a claim

construction argument into the proceeding through its patent owner response,

[Petitioner] was entitled in its reply to respond to that argument and explain why that

construction should not be adopted.”). The Board agreed this argument was properly

responsive to Appellee’s “questioning of the ordinary meaning of ‘between’ and is

appropriate rebuttal argument.” Appx75.

      Appellee’s reply included the following comparison between the ʼ751 Patent

and Arnould:




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Appx3503; see also Appx74. These figures confirm the similarities between the

ʼ751 Patent and Arnould, and solidify a POSITA would find the claimed “third hole

located between said first hole and said first hole” obvious in view of Arnould.

Appx3504. The Board’s final determination of obviousness in view of Arnould

alone is, therefore, correct. Parkervision, 88 F.4th at 982.

      Finally, even under Appellant’s construction, Arnould renders claim 1 of the

ʼ751 Patent obvious. As depicted in the comparison figures above, Arnould’s hole

25 is “at, into, or across the space separating two objects, places, or points,”

Appellant’s original proposed construction (ECF No. 22 at 46) in the same way the

“third hole” of the ʼ751 Patent’s lone drawn embodiment is “at, into, or across the

space separating” the first and second holes of that plate. Appx3503; see also


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Appx74. As the Board agreed, “[i]n both figures, the third hole is between the first

and second holes, even though both are below the main body of the plate.” Appx75.

Thus, the Board’s obviousness conclusion would still stand under Appellant’s faulty

construction, warranting affirmance.

             2.    Substantial Evidence Of Obviousness Exists Based On
                   Arnould In View Of Zahiri

      Even if this Court agrees Arnould lacks disclosure of the claimed third hole,

the Board’s obviousness opinion regarding the alternative analysis of Zahiri permits

affirmance. Appx78-80; Appx3196-3198. Appellant apparently does not dispute

that Zahiri discloses the claimed third hole because Appellant’s brief lacks any

analysis of Zahiri regarding the claimed third hole. ECF No. 22 at 49-55. Appellant

took a similar approach below, presenting no argument against Appellee’s position

that Zahiri indisputably teaches “a third hole between said first hole and said second

hole.” Appx3443-3445 (addressing only the motivation to combine Arnould and

Zahiri); Appx3568-3569 (same). The Petition included the following annotated

figure 8 from Zahiri, showing the third hole located between said first hole and said

second hole was known in the art:




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Appx3198 (citing Appx1178 (annotated)). The Board reproduced this annotated

figure in its final written decision. Appx78-79.

      Instead, Appellant’s sole challenge is its contention that the Board’s decision

regarding combinability lacks substantial evidence. For the reasons addressed above

in Section V, Appellant’s arguments fail and the Board’s decision should, therefore,

be affirmed.

VIII. THE BOARD CORRECTLY FOUND CLAIM 6 OF THE ʼ751 PATENT
      OBVIOUS OVER ARNOULD, ZAHIRI, MYERSON ’592, AND THE
      KNOWLEDGE OF A POSITA (’751 Patent Proceeding)

      Appellant next chides the Board for allegedly confusing Myerson ʼ592 and

Myerson ʼ608. ECF No. 22 at 71. Appellant’s attack focuses primarily on a lone

paragraph in the decision, which addressed the motivation to combine Arnould,

Zahiri, and Myerson ’592, and ignores the remainder of the Board’s analysis which

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addresses this art. When viewed in context, it is clear the Board did not err in finding

claim 6 of the ʼ751 Patent obvious, and any reference to Myerson ʼ608 was harmless.

      In the Petition, Appellee directed the Board to Myerson ʼ592, noting “the plate

10 [of Myerson ʼ592] is configured to be positioned anywhere in the mid-foot.”

Appx3216 (citing Appx4021, ¶21 (“the plate 10 is configured to be positioned

anywhere along the mid-foot, not just at the location shown in FIG. 1.”)). The

Petition further explained, “Myerson [ʼ592] guides a POSITA to substitute

differently contoured plates in order for the plate to be positioned across the cuboid

bone.” Id. (citing Appx4021, ¶¶21-22 (“geometry of the middle cuneiform may

require a differently contoured plate than a plate positioned across the cuboid

bone”)). A POSITA would have, therefore, understood “that if a joint in the mid-

foot needed to be fused, Arnould’s bone plate would be modified to conform to the

bones in the mid-foot.” Id.

      The Board cited these same disclosures, as well as the Petition, in “find[ing]

Petitioner’s arguments and evidence persuasive.” Appx96-97. The Board also cited

Mr. Sherman’s testimony that “a POSITA would understand that Myerson [ʼ592]’s

bone plate is configured to fuse the tarsometatarsal joint,” and “that Arnould’s bone

plate would easily be configured to contour to the bones in the mid-foot and fuse the

tarsometatarsal joint.” Id. (quoting Appx3761, ¶346). Weighing these disclosures

and expert testimony, the Board concluded that “Petitioner has articulated sufficient



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reasoning with rationale underpinning for combining both Zahiri’s angled hole

configuration and Myerson [ʼ592]’s teaching of fusing the tarsometatarsal joint with

Arnould’s plate.” Appx98.

        Appellant ignores this evidence, and instead pinpoints the Board’s citation to

paragraph 343 of the Sherman declaration. ECF No. 22 at 71-72 (citing Appx97,

Appx3790 (¶343)). This paragraph mistakenly states “Myerson discloses a bone

plate for fusion of the MTP joint as well as for receiving a locking screw in

combination with threaded holes to lock the fixation screws in place.” Appx3790,

¶343.    The Board cites this paragraph and quotes the language above in a

parenthetical. Appx97. This citation, Appellant argues, “is not simply a clerical

error but rather forms the foundation for [the Board’s] obviousness finding.” ECF

No. 22 at 72.

        This citation does not, however, “form the foundation” of the Board’s

obviousness finding. For example, as noted above, the Board reproduced Figure 1

of Myerson ʼ592 and quoted Mr. Sherman’s expert testimony confirming “that

Arnould’s bone plate would easily be configured to contour to the bones in the mid-

foot and fuse the tarsometatarsal joint.” Appx96-97 (quoting Appx3761, ¶346); see

also Appx3506 (“Mr. Sherman’s statements specific to Ground 5 confirm he was

referring to the disclosure of the tarsometatarsal joint in Myerson [ʼ592] with respect

to claim 6 and describe that a POSITA would understand how to apply Arnould to



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the TMT joint in view of Myerson [ʼ592]’s disclosure.” (citing Appx3790-91,

¶¶345-347)). Appellant presented no evidence rebutting the applicability of the

Arnould plate to fuse a tarsometatarsal joint. Appx97-98 (addressing Appellant’s

only substantive argument, that “the principles described in Arnould are specific to

MTP joints and teach away from the modification of the plate for use with the TMT

joint.” (quoting Appx3454)).

      Finally, Appellant’s reliance on Corephotonics, Ltd. v. Apple Inc., 84 F.4th

990 (Fed. Cir. 2023), fails to support its argument. In Corephotonics, the two parties

agreed that the Board’s discussion of the prior art was incorrect; while the Board

said the prior art taught “multiple cameras with differing fields of view,” the

references actually taught “cameras with different points of view.” Corephotonics,

Ltd., 84 F.4th at 1013.      The appellee in Corephotonics argued this was a

typographical error, but this Court could not find a record basis to agree. Id. In this

case, however, the parties do not agree that there was an incorrect discussion of the

prior art. Instead, the Board provided a well-reasoned analysis of the prior art,

including citation to specific figures and paragraphs of the correct Myerson ’592

reference, and rationale to combine that art, none of which is addressed in

Appellant’s brief. Appx96-97.




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       The Board’s conclusion that claim 6 of the ʼ751 Patent is obvious of Arnould,

Zahiri, Myerson ʼ592, and the knowledge of a POSITA should, therefore, be

affirmed. Merck, 808 F.3d at 837.

IX.    THE BOARD CORRECTLY FOUND THE PETITION SATISFIED 35
       U.S.C. § 312(a)(3) (’751 Patent Proceeding)

       A.     The Board’s Decision To Institute Is Not Appealable

       Appellant challenges the Board’s decision to institute at all, a decision that is

not appealable. Specifically, Appellant contends the Petition for the ’751 Patent was

“incomprehensible” despite the fact that it responded to and presented arguments for

each section of the Petition it desired to. ECF No. 22 at 68. The statute Appellant

relies on states “[a] petition filed under section 311 may be considered only if—the

petition identifies, in writing and with particularity, each claim challenged, the

grounds on which the challenge to each claim is based, and the evidence that

supports the grounds for the challenge to each claim….” 35 U.S.C. § 312(a)(3).

This statute merely sets forth minimum requirements for petitions to be considered

for institution. Id.

       The PTAB has wide latitude to determine the petitions for review it will

consider. See Saint Regis Mohawk Tribe v. Mylan Pharms. Inc., 896 F.3d 1322,

1327 (Fed. Cir. 2018) (citing Oil States Energy Servs., LLC v. Greene’s Energy Grp.,

LLC, 138 S. Ct. 1365, 1371 (2018)). Once the PTAB institutes, the decision to

institute is non-appealable. Cuozzo, 136 S. Ct. at 2139 (citing 35 U.S.C. ¶314(d)).


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“This prohibition applies equally to complaints regarding the Patent Office’s

determination that the information presented in the petition shows that there is a

reasonable likelihood of success, and to situations “where a patent holder grounds

its claim in a statute closely related to that decision to institute inter partes

review….” Id. (emphasis added). Id. Appellant’s “incomprehensible petition”

argument is, therefore, moot. Id.

      B.    The Body Of The Petition Articulated The Challenged Claims,
            Grounds On Which The Challenges Were Based, And Evidence
            Supporting The Grounds

      Even if Appellant’s argument is considered, it easily falls apart. Appellant’s

complaint boils down to a mismatch between the section headings accompanying

the evidence, arguments, and support in the body of the Petition on the one hand,

and the headings listed in the appendix on the other. ECF No. 22 at 69. Dedicating

pages in its brief to discuss a minor mismatch between an appendix—which is not

considered part of the petition for word count purposes and is solely for reference—

and the body of the Petition, which includes the evidence and testimony supporting

the invalidity arguments, showcases the straws at which Appellant is grasping in an

attempt to revive the claims. 37 C.F.R. § 42.8.

      The “incomprehensible” section headings in the Petition denote the limitation

considered in that section by stating the first few words of that limitation. See

Appx3117-3120 (table of contents showing the section headings). Appellant’s



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complaint is undermined by the fact that it addressed the limitations it desired to in

its papers below. See, e.g., Appx3416 (“In addressing mislabeled claim element

‘[17h],’ [as identified in the Petition] which appears to include the last clause of

‘[17d]’ set forth in the Claim Appendix…”). Tellingly, Appellant does not complain

that it was unable to address Appellee’s evidence supporting any portion of any

claim based on the division of the claim in the Petition. See ECF No. 22 at 68-70.

      C.     Appellant’s Cited Cases Are Irrelevant To The Issue At Hand

      The cases Appellant cites provide no support for its argument. First, Donner

Tech., LLC v. Pro Stage Gear, LLC, 979 F.3d 1353 (Fed. Cir. 2020), details a

situation where the litigant’s papers included an argument and evidence the Board

“erroneously stated” was not present in the papers. Id. at 1359. In Netflix Inc. v.

DivX, LLC, No. 2022-1043, 2023 WL 3115576 (Fed. Cir. Apr. 27, 2023), the Board

similarly found a limitation lacking in the prior art despite acknowledging in the

final written decision that this very limitation was taught by the prior art. Id. at *5.

The Board’s two-sided analysis resulted in this Court’s remand. Id. at *5-6.

      Netflix, Inc. v. DivX, LLC, 84 F.4th 1371 (Fed. Cir. 2023) (“Netflix II”), is

equally inapposite. There, this Court held “[a] petitioner may not rely on a vague,

generic, and/or meandering petition and later fault the Board for failing to

understand what the petition really meant.” Id. Unlike in Netflix II, Appellee’s




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petition was not vague, generic, or meandering and neither the Board nor Appellant

ignored arguments “allegedly raised” in the petition. Id.

      Appellee’s petition “identifies, in writing and with particularity, each claim

challenged, the grounds on which the challenge to each claim is based, and the

evidence that supports the grounds for the challenge to each claim.” 35 U.S.C. §

312(a)(3). Appellant’s argument to the contrary is both non-appealable and contrary

to the facts of this case. The Board’s decision should, therefore, be affirmed.

                                  CONCLUSION

      For the reasons detailed above, this Court should affirm the Board’s decisions

finding claims 32-39 of the ʼ713 Patent and 1-3 and 6-18 of the ʼ751 Patent invalid.



Dated: April 25, 2024                  Respectfully submitted,

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FORM 19. Certificate of Compliance with Type-Volume Limitations                              Form 19
                                                                                            July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

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            Case Number: 23-2397, 23-2398

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